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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:04-cr-00006-MP-AK

KENNETH BERNARD MILES, and
DENNIS BUTLER, et al.,

      Defendants.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 520, motion to continue sentencing hearing of

Kenneth Bernard Miles and Doc. 521, motion to continue the sentencing hearing of Mr. Butler.

Both motions are granted, and sentencing for Mr. Butler is set for Friday, September 23, 2005, at

9:30 a.m. and for Mr. Miles on Friday, September 23, 2005, at 10:00 a.m. A separate order has

been filed in case number 1:04cr35, regarding Mr. Miles' revocation of supervised release

hearing.


       DONE AND ORDERED this 19th day of August, 2005


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
